Case 3:21-cv-00249 Document 11 Filed on 10/05/22 in TXSD Page 1 of 1

COLLEEN M. McCLURE
ATTORNEY AT LAW
6046 FM 1960, #425
Spring, Texas 77379

colleen.mcclure@att.net
Atips://www.colleen-m-mccl ure-attorney.net/

TELEPHONE (281) 440-1625 Legal Assistant
FAX (281) 946-5627 Sheila Singh

October 5, 2022
Via Efiling

Honorable Judge Jeffrey V Brown
U.S. District Clerk’s Office

601 Rosenberg Avenue, Room 613
Galveston, Texas 77550

Re: CASE #: 3:21-cv-00249 - Rios et al v. Specialized Loan Servicing LLC

Dear Judge Brown,

The parties have reached an agreement and resolved the above case. We have worked
out an agreement and are awaiting the signatures of all parties involved in this lawsuit to
complete the terms of the agreement. We would like to have an entry date for the dismissal
which is at least 60 days out from the date of this letter in order to ensure the time needed for the
Defendant to obtain the appropriate signatures on the modification documents. If we get all
signatures prior to the date the court provides, we will file the dismissal documents at that time.

A copy of this letter has been sent to Branch Sheppard Attorney for Defendant for review
and approval.

If you have any questions, please do not hesitate to contact me at your convenience.

7 truly yours

Colleen M. McClure
Attorney at Law

 

CMM /ss
